     Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 1 of 23




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

JOHN DOE,                                      :
                                               :
                                               :
                   Plaintiff,                  :
                                               :   Civil Action No: 1:19-cv-11626-DPW
                                               :
            -against-                          :
                                               :
                                               :
TRUSTEES OF BOSTON COLLEGE,                    :
                                               :
                                               :
                   Defendants.                 :


            PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
                  TO DEFENDANT’S MOTION TO DISMISS


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            Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 2 of 23



                                               INTRODUCTION
           Plaintiff John Doe1 respectfully submits this Memorandum of Law in Opposition to the

Motion by Trustees of Boston College (“Defendant” or “BC”) to dismiss Plaintiff’s Amended

Complaint (“AC”) pursuant to Federal Rule of Civil Procedure 12(b)(6). This Court should deny

the Motion in full as Plaintiff amply states plausible claims for relief under federal and state law.

                                          STATEMENT OF FACTS2

      I.       The Events of November 3-4, 2018

           Plaintiff John Doe and fellow BC student, Jane Roe (“Roe”), matriculated to Boston

College in Fall of 2017 and met during their freshman year. AC ¶¶ 13, 74. Doe and Roe were on

friendly terms, though not close. AC ¶ 74. On November 4, 2018, at approximately 1:30 a.m., Doe

and few friends spotted and joined Jane Roe while she was getting food at a campus dining hall.

AC ¶ 83-84. Roe purchased food for Doe and his friends and accompanied them back to Doe’s

suite. AC ¶ 88-90. The group chatted and ate their food in the common room of Doe’s suite. AC ¶

91. After Doe’s friends left, Doe and Roe were alone in the common room. Doe asked Roe if she

wanted to go into his room. Roe replied “Yes.” AC ¶ 92.

           Upon entering Doe’s room, Roe followed Doe onto his bed. AC ¶ 93. Doe and Roe started

to kiss, then laid down to continue kissing and grinding against each other. AC ¶ 17. Roe asked

Doe to kiss her neck, and as he did so, Roe stated to him, “I know you want to do it,” which Doe

understood to mean engage in sexual intercourse. AC ¶ 95-96. Roe assisted Doe in removing her

spandex shorts and instructed Doe to “get a condom.” AC ¶ 97-99. Upon Doe’s return to the bed,

he did not put the condom on immediately, at which point Roe stated, “other people have done

that [had sex without a condom]”, to which Doe replied, “I wouldn’t do that.” AC ¶ 100. Doe put


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    This Court previously granted Plaintiff’s motion to proceed under a pseudonym [ECF No. 3; ECF No. 34].
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    A full account of the facts can be found in the Amended Complaint, ECF No. 52, incorporated herein by reference.

                                                          1
          Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 3 of 23



the condom on, then, after being instructed by Roe to “do it,” penetrated her vagina with his penis.

AC ¶ 102. Roe and Doe engaged in sexual intercourse for approximately five to seven minutes,

during which Roe instructed Doe verbally to “go slow” and “keep it there.” AC ¶ 102-104. Doe

asked Roe to flip onto her stomach, but she replied that she did not want to because she “did not

want [him] to cum too fast.” AC ¶ 105. After Doe told her he would not, she turned on her stomach.

AC ¶ 105. After several minutes in this position, Roe stated that her back hurt, and the sexual

encounter ceased. AC ¶ 106. The two then got dressed, Doe walked Roe to the door, and Roe said

goodbye to Doe, as well as one of his suitemates in the common room. AC ¶ 107.

   II.      Roe’s Complaint, The Investigation, and Disciplinary Proceedings

         Days after the encounter, Roe, accompanied by

                        met with BC’s                                 to inform

             had engaged in misbehavior relating to alcohol and consent, and requested

                     . AC ¶ 113. After that meeting,       reported Roe’s account of the events to

the Associate Vice President of Student Affairs/Student Title IX Coordinator. AC ¶ 114.

         On December 7, 2018, Roe decided to move forward with an investigation. She

subsequently met with BC’s Associate Dean of Students to discuss the charges. AC ¶ 115, 117.

Dean Kelly issued a mutual stay away order on December 11, 2018, and met with Doe on

December 14, where she informed Doe he would receive written notification (the “Notice”) of the

charges, which he did not receive until one month later. AC ¶ 119-120. BC’s external investigator

interviewed Roe twice before Doe received written notification of the charges. AC ¶ 121-122. The

Notice stated the charges consisted of “engaging in non-consensual sexual contact through kissing

and touching of intimate body parts and penetrating her vagina with [his] penis without her consent

while [Roe] was incapacitated,” and noted that if additional allegations arose “we [BC] would



                                                 2
            Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 4 of 23



provide an updated notice to you.” AC ¶ 123-126. Doe met with BC’s Assistant Dean of Students

on January 29, 2019, and then, after submission of evidence to corroborate his timeline and account

of events, again on March 11. AC ¶ 128, 130, 134. In an email of February 27, 2019, Doe requested

to review the evidence prior to his second interview, however, the Dean refused, stating that

Investigators would not share evidence prior to his follow up interview. AC ¶ 132.

           BC made the evidence binder available to Doe to review on April 5, 2019. AC ¶ 138. BC

provided Doe ten (10) calendar days to review the binder and did not permit Doe to remove the

materials from the office and prohibited him from making copies of the full investigation file, of

approximately sixty (60) pages. AC ¶ 138. Doe submitted his timely response to the binder, where

he asserted that the investigation did not support a finding of responsibility because the evidence

demonstrated that Roe (i) did not lack the capacity to engage in a consensual sexual encounter,

and (ii) actively participated in the sexual encounter. AC ¶ 140. At all times during the

investigation, Doe understood the charges against him to be non-consensual contact due to

incapacitation, and focused his defense on disproving this specific charge by identifying witnesses

and evidence that would refute Roe’s claims of incapacitation. AC ¶ 151.

    III.      The Disciplinary Decision

           Doe received a Resolution Letter on June 18, 2019 that noted that Dean Kelly reviewed

and approved the final investigative report, which found him responsible for Sexual Misconduct:

Sexual Assault by a preponderance of the evidence. AC ¶ 149-150.3 Remarkably, although the

Investigators concluded that Doe did not know, nor could he have reasonably known that Roe was

incapacitated by alcohol, they still found Doe responsible for assault. AC ¶ 150. Apparently, when



3
  Unlike BC’s processes for non-sexual forms of alleged misconduct, which permit for a full hearing before a neutral
third party, BC’s procedures for sexual misconduct claims requires a closed-door process whereby the investigators
reach a decision with no formal hearing. AC ¶¶ 147-148.

                                                         3
            Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 5 of 23



the Investigators concluded that the evidence did not support a finding of non-consent by

incapacitation, they changed their theory of the case, to a charge of generic non-consensual sexual

contact. AC ¶ 151. BC failed to notify Doe at any time of these additional charges, despite plainly

stating they would notify Doe of any new charges. AC ¶ 126, 151.

           The Resolution Letter notified Doe of his suspension from BC effective immediately, for

two full semesters, through                   , and upon completion of the suspension, he will be

required to reapply for admission and be subject to probation for            upon return. AC ¶ 152.

     IV.      The Appeal and Subsequent Actions

           Doe appealed the wrongful finding of responsibility and sanction of one year on the

grounds that (i) BC committed numerous material procedural errors that likely adversely affected

the result of the conduct adjudication, and (ii) Doe recently became aware of new evidence that

was unavailable to him during the adjudication process – that his roommate heard affirmative

verbalizations from Roe during Roe and Doe’s encounter because of his location in the common

room, which likely would have affected the finding. AC ¶ 153-155. Despite this, BC erroneously

denied Doe’s appeal on July 24, 2019 on the grounds that it did not state a valid ground for appeal,

and Doe subsequently filed this action on July 29. AC ¶ 156. After this Court initially granted a

preliminary injunction staying imposition of the suspension, BC reinstated Doe’s suspension after

the First Circuit vacated the preliminary injunction awarded by this Court. The suspension began

on                        and will continue through                     . ECF No. 65-1.

                                            ARGUMENT

     I.       The Legal Standard Governing Motions to Dismiss

           On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), “[t]he burden

is on the movant to prove that the Complaint presents no claim upon which relief can be granted.”



                                                   4
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 6 of 23



In re Ryan, 05-17331-WCH, 2006 WL 1314299, at *2 (Bankr. D. Mass. May 15, 2006). To

overcome a motion to dismiss, the Complaint must simply supply “enough facts to raise a

reasonable expectation that discovery will reveal evidence of the necessary element[s]” of the

causes of action alleged. Bell Atlantic Corp v. Twombly, 550 U.S. 544, 556 n. 14 (2007). This

District has consistently recognized that in a discrimination action, heightened fact pleading is not

required, “but only enough facts to state a claim to relief that is plausible on its face.” Sisco v. DLA

Piper LLP, 833 F. Supp. 2d 133 (D. Mass. 2011). See also Twombly, 550 U.S. at 547 (quoting

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508 (2002)); Weaver-Ferguson v. Bos. Pub. Sch., No.

CV 15-13101-FDS, 2016 WL 1626833, at *3 (D. Mass. Apr. 22, 2016).

        At the motion to dismiss stage, the court “is not engaged in an effort to determine the true

facts. The issue is simply whether the facts the plaintiff alleges, if true, are plausibly sufficient to

state a legal claim. For that reason, the court, in judging the sufficiency of the complaint, must

accept the facts alleged and construe ambiguities in the light most favorable to upholding the

plaintiff’s claim[s].” Doe v. Columbia Univ., 831 F.3d 46, 48 (2d Cir. 2016). Accordingly, “[t]he

issue is not whether a plaintiff will ultimately prevail[,] but whether the claimant is entitled to offer

evidence to support the claims.” Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S. Ct. 1683, 1686

(1974); Swierkiewicz, 534 U.S. at 511. The pertinent question for this Court is whether Defendant

has proven that “the complaint warrant[s] dismissal because it failed in toto to render plaintiffs’

entitlement to relief plausible.” 550 U.S. at 569. See also Braden v. Wal-Mart Stores, Inc., 588

F.3d 585, 594 (8th Cir. 2009) (“[T]he complaint should be read as a whole, not parsed piece by

piece to determine whether each allegation, in isolation, is plausible.”). Defendant here has not.

Thus, the motion to dismiss should be denied.




                                                   5
          Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 7 of 23



   II.      Plaintiff States Claims for Breach of Contract and Basic Fairness

            A. Standard of Review

         It is well-established that the relationship between a student and his educational institution

is contractual in nature, with the terms of contract established by the student handbook and other

related policies. See Doe v. W. New England Univ., 228 F. Supp. 3d 154, 169 (D. Mass. 2017);

Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 593 (D. Mass. 2016). In reviewing a breach of contract

claim brought by a student against a private school, courts apply a standard of “reasonable

expectations.” Doe v. Amherst Coll., 238 F. Supp. 3d 195, 215 (D. Mass. 2017). This standard

“requires courts to interpret the terms of the contract by giving them the meaning the party making

the manifestation, the [college], should reasonably expect the [student] to give it.” Ibid. (internal

citations omitted). In addition, “the implied covenant of good faith and fair dealings imposed on

every contract by Massachusetts law, applied in the context of school disciplinary proceedings,

creates an independent duty to provide basic fairness” in the disciplinary process. Doe v. Trustees

of Boston Coll., 892 F.3d 67, 87 (1st Cir. 2018).

         While “‘[b]asic fairness’ is an uncertain and elastic concept, and there is little case law to

serve as guideposts in conducting the fairness inquiry,” Brandeis Univ. at 177 F. Supp. 3d at 601,

it consists of two parts. First, procedural fairness: whether the process sufficiently provided the

accused student a reasonable and fair opportunity to defend himself. Second, substantive fairness:

specifically, even if the college conducted the procedure fairly, whether the college made an

arbitrary or irrational decision, potentially tainted by bias or unfairness. Id. BC’s Code of Student

Conduct expressly provides that “[t]he student conduct system exists to protect the rights of the




                                                    6
          Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 8 of 23



Boston College community and assure fundamental fairness to the complainant and to the

respondent.” AC ¶ 237.4

         In the instant case, Plaintiff sufficiently alleges claims for breach of contract and breach of

the implied covenant, for BC’s failure to comply with Plaintiff’s reasonable expectations, as well

as principles of basic and fundamental fairness.

             B. BC’s Review/Appeal Procedures

         Plaintiff adequately alleges two grounds for breach of contract claims against BC with

regard to BC’s review and appeal process: first, that the process itself, by providing no standard

of review and narrowly circumscribing the grounds for appeal, is fundamentally unfair, and

second, that BC breached the reasonable expectations of Plaintiff by arbitrarily approving

Investigators’ Report and denying his appeal despite his having set forth proper grounds as

expressly delineated under BC policy.

             i.        The Limited Grounds for Review/Appeal are Fundamentally Unfair

         As set forth in the Amended Complaint, in cases of alleged sexual misconduct, findings of

responsibility are made by “one or more internal and/or external investigators.” AC ¶¶ 62, 69. The

investigators’ findings are then submitted to the Office of the Dean of Students and Student Affairs

Title IX Coordinator “for review and approval.” AC ¶¶ 69, 288. As set forth in the Amended

Complaint, this procedure is “devoid of any articulated standard of review.” Indeed, Court noted


4
  BC misleadingly asserts that, where the contract itself promises “fundamental fairness”, the “fairness” analysis then
focuses on whether the school abided by its established procedures. Def.’s Br. 8. In fact, the very case cited by
Defendant—the First Circuit’s decision earlier in this case—directly contradicts that proposition: “[t]o be clear, no
party asserts that a school's mere adherence to its policies itself resolves a basic fairness claim.” Doe v. Trustees of
Boston Coll., 942 F.3d 527, 535 (1st Cir. 2019). Instead, the Circuit has held that “whenever a school expressly
promises no less than basic fairness, . . . the school's implied duty becomes superfluous and the court's analysis to
ensure that the disciplinary proceedings were ‘conducted with basic fairness’ focuses on assuring compliance with the
express contractual promise.” Doe v. Trustees of Boston Coll., 892 F.3d 67, 88 (1st Cir. 2018) (emphasis added)
(citation omitted). The First Circuit was merely noting that where “basic fairness” is expressly promised, a breach of
basic fairness may be asserted as a direct breach of contract claim, not an implied breach. It did not hold that such an
express promise substantively changes the fairness analysis.

                                                           7
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 9 of 23



during oral argument on Plaintiff’s motion for preliminary injunction, the very wording of the

Policy appears to indicate that the only option available is to “approve,” and there is no articulated

standard of what such “review” entails. Tr. of Hr’g, ECF No. 46, at 10:3-12:8; 13:21-23 (“it

appears that they have simply passed along as essentially ipse dixit the investigators' report.”). In

the instant case, Plaintiff raises considerable credibility and evidentiary issues that investigators

disregarded and gave insufficient weight in the ultimate analysis—including, notably, that Roe

acknowledged having a conversation with Plaintiff about condoms immediately preceding the

intercourse. AC ¶¶ 108, 210. Yet, the responsibility finding was apparently reviewed and

approved. Such facts, read in the light most favorable to Plaintiff, indicate that the “review and

approve” process is simply a rubber-stamp, bereft of any meaning, violating basic fairness.

       Moreover, after the Dean of Students and Title IX Coordinator perform their ambiguous

“approval,” BC provides only two narrow grounds for appeal: (i) previously unavailable

information that likely would impact the outcome, or (ii) material procedural error that likely

adversely affected the outcome. AC ¶ 273. Notwithstanding the severe ramifications of a finding

of responsibility, these narrow grounds for appeal deprive a student of the opportunity to contest

the finding on all available grounds, including that the investigators’ findings were not supported

by the evidence. In other words, according to BC’s policy, the investigators could make an entirely

arbitrary decision of guilt, and there is no effective means for the student to appeal from such a

decision. This process is therefore fundamentally unfair. See, e.g. Brandeis Univ., 177 F. Supp.

3d at 607 (holding a school disciplinary process not complaint with basic fairness where

“[c]onspicuously absent from that list is the ability to appeal on the ground that the…decision was




                                                  8
          Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 10 of 23



not supported by the evidence, or…otherwise unfair, unwise, or simply wrong”). Plaintiff thus

sufficiently alleges that BC’s Policy lacks fundamental fairness.5

              ii.       The Review/Appeal Failed to Comport with
                        Plaintiff Doe’s Reasonable Expectations

         In addition to being fundamentally unfair, Plaintiff sufficiently alleges that BC’s review

and appeal process failed to comply with his reasonable expectations. First, as discussed above,

the existence of some layer of “review” invites the reasonable expectation that a genuine review

will be conducted, and that approval will not be arbitrary or capricious. Yet, that is precisely what

happened here, where the investigators’ report, despite glaring evidentiary issues and irrational

conclusions, was rubber-stamped and adopted by BC without coherent analysis or explanation.

AC ¶ 149. While BC may disagree as to the sufficiency of the review, that bears no weight here –

Plaintiff’s allegations must be accepted as true and ambiguities resolved in Plaintiff’s favor.

          In addition to violating Plaintiff’s reasonable expectations of a genuine review, BC also

violated Plaintiff’s reasonable expectations with respect to his Appeal. According to BC’s Policy,

“an appeal will be accepted in circumstances where the student is able to provide relevant

testimony or other evidence that (i) was unavailable to the student submitting the appeal at the

time of the adjudication process.” AC ¶ 277. Plaintiff submitted an Appeal on precisely this

ground: a witness, Roommate 1, who was in Doe’s suite during the sexual encounter between him

and Roe, told Doe—after the finding was issued—that he had heard “unambiguous” sounds of

consensual sex from both parties. AC ¶ 274. This information was plainly not available to Doe




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  Defendant’s argument that the limited grounds for appeal cannot ground a contract claim because schools are not
obligated to provide an appeal in the first place, Defs,’ Br. 10, is unavailing. As the First Circuit has made clear, even
if a student did not have a pre-existing right to a particular process, the school’s decision to offer that process obligates
it to conduct such process with basic fairness. Doe v. Trustees of Boston Coll., 892 F.3d at 87–88.

                                                             9
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 11 of 23



prior to his appeal. AC ¶ 274.6 Nonetheless, BC refused to grant the appeal, claiming that the

information was “available” earlier. AC ¶ 276. BC’s farcical assertion that “it is undisputed that

the evidence…was available to Doe” could not be more wrong. Defs.’ Br. 11. BC’s argument is,

in essence: if a witness has crucial information that the investigators failed to gather, it is up to the

respondent to conduct his own separate investigation to ensure that nothing was missed. This is

simply preposterous. Information that was never disclosed to Plaintiff during the investigation is,

undoubtedly, evidence that was not “available” to him at the time. That BC argues Plaintiff should

have investigated to discover the information earlier is a complete abdication of its responsibilities

and a tacit admission that its investigators failed to conduct a “thorough” investigation, as required

under the Policy. As this Court noted during the August 20, 2019 hearing:

            Grounds of appeal doesn't say, you know, it was out there and available and
            nobody found it. It says not known to the student, unavailable to the student.
            And the state of the record right now, the only thing I have is the student
            didn't know about it because his roommate, I guess, says he never told him
            and didn't realize that this was an issue until after the report or after the
            determination was made. So I don't know how the appeal officer can say that
            there is not at least a question concerning newly discovered evidence.

Tr. of Hr’g, ECF No. 46, at 19:1-11.

         BC’s Policy gave Doe a reasonable expectation that an appeal would be granted on the

ground of previously unavailable information that would have affected the outcome. Plaintiff

adequately alleges that BC neglected to follow its own Policy by refusing Doe’s appeal and

therefore breached its contract with Doe.

             C. BC Failed to Provide Doe with Adequate Notice

         As BC itself acknowledges, a fair process is one that must afford a respondent adequate

notice and opportunity to be heard. Def.’s Br. 8. When BC first notified Doe of the charge, the


6
 It also quite clearly goes to the very heart of the question of consent, contrary to BC’s spurious claim that Plaintiff
did not “demonstrate” that the new evidence could have affected the outcome. Defs.’ Br. 11.

                                                          10
        Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 12 of 23



matter plainly at issue was whether Roe was incapacitated and thus, unable to consent. At all times

during the investigation, Doe understood the charges against him to be non-consensual contact due

to incapacitation, and focused his defense on disproving this specific charge by identifying

witnesses and evidence to Roe’s claims of incapacitation. AC ¶ 151. Yet, BC ultimately found Doe

responsible of a charge that had not been directly discussed in the Notice nor throughout the

investigation. AC ¶¶ 123-124, 126, 223. As such, BC failed to afford Plaintiff adequate notice and

opportunity to defend himself, thus violating basic fairness as well as his reasonable expectations.

       BC told Plaintiff at the outset of the process that the key issue was Roe’s capacity, and “[i]f

during the investigation there are additional allegations, we would provide an updated notice to

you.” AC ¶ 126. Both the Notice and focus of witness interviews, including the questioning, clearly

indicated that the investigation centered on Roe’s incapacitation. AC ¶ 247-248. BC cleared Doe

of these charges in the Investigatory Report, and then, after absolving Plaintiff of the one charge

of which he had been apprised and defended against, changed the theory of the case without notice

and instead found him responsible for allegations supported by separate policy sections. AC ¶ 250.

Indeed, this pivot is acknowledged by BC in the Investigatory Report, where the investigators

claimed that due to the exoneration, they were then obligated to consider alternate routes by which

Plaintiff may have committed a violation. AC ¶ 253. This is not provided for in BC’s policy and

does not comport with the notice and process, which, throughout, had been focused entirely on

Roe’s capacity. Plaintiff thus sufficiently alleges breach of contract and basic fairness.

           D. The Investigation was Not Thorough or Impartial

       Plaintiff sufficiently alleges that BC failed to conduct a thorough and impartial

investigation, in violation of its Policy. AC ¶ 199-200. First, BC utilizes an investigative model

whereby the one entity, the investigator(s) are responsible for investigation and adjudication. AC



                                                 11
        Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 13 of 23



¶ 283. As this District Court has observed, “[t]he dangers of combining in a single individual the

power to investigate, prosecute, and convict, with little effective power of review, are obvious. No

matter how well-intentioned, such a person may have preconceptions and biases, may make

mistakes, and may reach premature conclusions.” 177 F. Supp. 3d at 579. This failure to separate

out the differing functions, combined with the absence of meaningful opportunity for review, as

discussed above, results in a process that deprives the accused of basic fairness and fails to accord

with reasonable expectations of a thorough and impartial process. AC ¶ 284, 287-290.

        Second, Plaintiff alleges—and BC essentially acknowledged—the patent lack of

thoroughness of its investigation. To wit: exculpatory evidence belatedly offered by Witness 1—

that he was a first-hand, contemporaneous witness to “unambiguous” signs of consensual sex—

was not gathered by BC’s own investigators. AC ¶¶ 274-276. BC’s attempt to lay the blame for

this belated discovery on Plaintiff—claiming the information was “available” if only he had

performed his own independent, apparently more thorough investigation—is a tacit admission that

the investigators failed to do their job. Thus, BC breached its obligations under the Policy and

acted in bad faith when it performed a deficient investigation.

       Third, Plaintiff amply alleges myriad ways in which the investigation, and the conclusions

reached, were irrationally partial to Roe – including the investigators’ failure to address credibility

issues occasioned by Roe’s proven inconsistent claims (for example, initially claiming she did not

consent to any activity, and then admitting she consented to all of the sexual activity leading up to

penetration), as well as their acceptance of a version of events that Roe admitted she had no reliable

memory of, over Plaintiff’s clear, consistent memory. AC ¶¶ 178-179. BC’s Policy is also biased

in its nature, because it refers to the complainant as “victim” over forty times. AC ¶ 224. “Whether




                                                  12
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 14 of 23



someone is a ‘victim’ is a conclusion to be reached at the end of a fair process, not an assumption

to be made at the beginning.” Brandeis Univ., 177 F. Supp. 3d at 573.

         As such, BC’s process was deficient, unfair, and partial, in violation of its contractual

obligations and the implied covenant of good faith.

             E. The Investigators Improperly Applied the Standard of Evidence

         Per the Policy, BC was obligated to assess Roe’s claims under the preponderance of the

evidence standard. AC ¶ 66. Plaintiff sufficiently alleges that BC breached this obligation.

Specifically, Plaintiff alleges that: Roe admitted consenting to “making out”, Roe admitted to

asking Plaintiff to kiss her neck, Roe admitted to assisting Plaintiff in removing her shorts, and

Roe admitted to having a conversation with Plaintiff about using a condom shortly before

penetration occurred. Plaintiff also alleges that Roe made statements to witnesses, including via

text message, acknowledging that she consented to intercourse with Plaintiff. AC ¶¶ 178-179, 210.

For the purposes of this motion, all of these facts must be accepted as true. Yet, BC’s investigators

ignored this substantial evidence of affirmative consent, and instead focused on immaterial

“inconsistencies” in Plaintiff’s story – such as the specific location from where he fetched the

condom – to find Plaintiff responsible for nonconsensual sexual contact. This finding is patently

against the weight of the evidence, and further, violates the presumption of innocence inherent in

basic fairness. AC ¶ 206, 208, 210-213, 222. Moreover, the Investigators deemed Roe’s version

of events more credible despite also finding that she was incapacitated by intoxication, which is

inherently contradictory and nonsensical.

         As such, Plaintiff more than sufficiently alleges that the investigators failed to apply the

appropriate standard of evidence, constituting breach of contract.7


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  Defendant’s claim that Doe merely “disagree[s] with the investigators’ assessments of the evidence”, Def.’s Br. 14,
is a misdirect. This is not a case of pure he-said she-said where the investigators chose to credit one party over the

                                                         13
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 15 of 23



             F. Plaintiff Adequately Alleges Additional Claims for Breach of Contract

         Plaintiff also raises sufficient claims for breach of contract when BC failed to follow its

own policies. Specifically, BC violated Doe’s right to confidentiality under the Policy when                           ,

                         , permitted Roe to bring her not yet official claim to Doe’s                    . AC ¶ 214-

215. Defendant’s assertion that no violation of confidentiality occurred because this meeting

happened prior to the formal complaint ignores that had the administrators had proper training,

they would have known to follow proper protocol, including the maintenance of confidentiality.

Additionally, BC refused Doe access to evidence, even while questioning him on its veracity and

content, until after the completion of his interviews. AC ¶ 270-272. Moreover, BC failed to

complete the investigation within sixty days, causing undue delay. AC ¶¶ 36, 226, 228. Each of

these actions constitutes a breach of contract, and together, they deprived Doe of fundamental

fairness.

             G. BC Deprived Doe of an Opportunity to Confront or Cross-Examine his
                Accuser and Witnesses Interviewed During the Investigation

         While the First Circuit held, in its opinion vacating the preliminary injunction in this case,

that the opportunity for live cross-examination is not, standing alone, a requirement for

fundamental fairness under existing state contract law, Doe nonetheless submits that the absence

of any opportunity for such examination, combined deficiencies otherwise identified herein,

including the absence of meaningful review or a real appeal process, results in a process that, in

totality, is fundamentally unfair. Doe also notes this claim may be impacted by Plaintiff’s separate

certification of a question to the Supreme Judicial Court on the issue of cross-examination.




other. Plaintiff has alleged significant exculpatory evidence, including Roe’s own admissions, as well as third party
evidence, on the one hand, and investigators’ pure, ungrounded speculations on the other. Taking Plaintiff’s allegations
as true, the overwhelming weight of the evidence presented shows that Roe consented.

                                                          14
          Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 16 of 23



   III.      Plaintiff Adequately Pleads a Title IX Claim

             A. The Controlling Title IX Standard

          Title IX, 20 U.S.C. § 1681(a), “bars the imposition of university discipline where gender

is a motivating factor.” Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994). To state a claim

under Title IX on an erroneous outcome theory, a plaintiff must allege “particular facts sufficient

to cast some articulable doubt on the accuracy of the outcome of the disciplinary proceeding” and

“a causal connection between the flawed outcome and gender bias.” Ibid; See also Doe v. Univ. of

Mass.-Amherst, No. CV 14-30143-MGM, 2015 WL 4306521, at *8 (D. Mass. July 14, 2015)

(adopting Yusuf standards for assessing Title IX claims). In the context of discrimination claims,

a court “cannot hold plaintiffs to a standard that would effectively require them, pre-discovery, to

plead evidence.” Cooperman v. Individual Inc., 171 F. 3d 43, 48-9 (1st Cir. 1999) (citation

omitted). Instead, a Court must decide whether a claim has facial plausibility, specifically, “when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Blank v. Knox Coll., No. 14-CV-1386, 2015 WL

328602, at *2 (C.D. Ill. 2015) (internal citations omitted). The court in Blank “decline[d] to find

that a Title IX plaintiff must present ‘particularized facts’ substantiating his claim” since the

heightened pleading standard only applies to allegations of fraud or mistake. Id. at *3.

          The First Circuit proclaimed that the “plausibility” standard of Bell Atlantic v. Twombly,

550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009) must be treated flexibly in cases

where the plaintiff alleges discrimination: “[a] paucity of direct evidence is not fatal in the

plausibility inquiry. ‘Smoking gun’ proof of discrimination is rarely available, especially at the

pleading stage. Nor is such proof necessary.” Grajales v. Puerto Rico Ports Auth., 682 F.3d 40, 49




                                                  15
        Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 17 of 23



(1st Cir. 2012) (citations omitted) (denying motion to dismiss political discrimination claim, where

plaintiff alleged employment action in “temporal proximity” with political regime change).

        Furthermore, “Iqbal does not require that the inference of discriminatory intent supported

by the pleaded facts be the most plausible explanation of the defendant’s conduct.” 831 F.3d at 57.

In adopting legal principles from Title VII cases, the Second Circuit has clarified that “[a]

complaint under Title IX…is sufficient with respect to the element of discriminatory intent…if it

pleads specific facts that support a minimal plausible inference of such discrimination.” Id. at 56.

“The role of the court at this stage of the proceedings is not…to evaluate the truth as to what really

happened, but merely to determine whether the plaintiff’s factual allegations are sufficient to allow

the case to proceed.” Id. at 59. In this case, Plaintiff alleges sufficient facts to set forth a plausible

allegation of gender bias. Defendant’s Motion should be denied.

            B. Plaintiff Sufficiently Demonstrates How an Erroneous
               Outcome was Reached by a Flawed Proceeding

        As courts routinely recognize, “[t]he first element of an erroneous outcome claim—casting

articulable doubt on the accuracy of the outcome—is not a significant barrier.” Doe v. Marymount

Univ., 297 F. Supp. 3d 573, 584 (E.D. Va. 2018). Plaintiffs “can satisfy this element in a number

of ways including…challenging the overall sufficiency and reliability of the evidence.” Ibid.

Indeed, “this prong has been met often in recent cases where courts analyzed motions to dismiss.”

Norris v. Univ. of Colorado, Boulder, 362 F. Supp. 3d 1001, 1011 (D. Colo. 2019) (collecting

cases); see also Yusuf, 35 F.3d at 715 (“the pleading burden in this regard is not heavy.”). The

Sixth Circuit has held that the denial of an opportunity for live cross-examination of the

complainant is sufficient, alone, to cast doubt on the outcome of the proceedings. Doe v. Baum,

903 F.3d 575, 585 (6th Cir. 2018).




                                                   16
        Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 18 of 23



       Here, Plaintiff Doe alleges: (i) he did not receive the opportunity to confront his accuser or

cross-examine witnesses, despite the fact that the investigation came down to credibility; (ii) the

Investigators overlooked various signs of clear evidence of Roe’s consent to sexual intercourse;

(iii) the Investigators discounted a text message from Roe to her friend the morning after her

encounter with Doe that stated “it was fine”; (iv) investigators ignored undisputed inconsistences

in Roe’s statements in separate interviews and failed to carry such inconsistencies into a credibility

analysis; and (v) BC failed to re-open the investigation to interview Roommate 1, despite his

assertion of information that directly bore on the issue of Roe’s consent. AC ¶ 178. These

allegations are sufficient to meet the first prong of an erroneous outcome claim. See, e.g.,

Marymount, 297 F. Supp. 3d at 584 (allegations of procedural irregularities and “inconsistent and

incredible statements” by accuser sufficient to meet pleading threshold); Prasad v. Cornell Univ.,

No. 15-CV-322, 2016 WL 3212079, at *16 (N.D.N.Y. Feb. 24, 2016) (“allegations that the

investigators intentionally misconstrued and misrepresented critical exculpatory evidence”

sufficient to cast doubt on outcome).

           C. Plaintiff Sufficiently Pleads BC’s Conduct was Motivated by Gender Bias

       As explained above, a plaintiff alleging discrimination need not plead direct evidence; it is

sufficient if he can set forth circumstances providing a plausible basis to infer bias. Grajales v.

Puerto Rico Ports Auth., 682 F.3d at 49-50. Plaintiff does so here.

       First, Plaintiff sets forth facts displaying that the overwhelming evidence in the

investigation – including Roe’s own admissions, such as her acknowledgement that she helped

Plaintiff remove her shorts and had a conversation with him about contraception moments before

they had intercourse – weighs in favor of finding that Roe consented to sexual intercourse. AC ¶¶

178-179, 210. Second, Plaintiff sets forth that the investigators, without any rational explanation,



                                                 17
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 19 of 23



ignored concrete evidence of consent and instead, wildly distorted the record in order to

manufacture a guilty finding. Id. Third, Plaintiff alleges that the investigators contradictorily found

that Roe was intoxicated to the point of incapacitation, yet deemed her vague, inconsistent alleged

memories more reliable than Plaintiff’s. Id. Fourth, Plaintiff alleges that the investigators, after

finding Plaintiff not responsible on the charge for which he was Noticed, then decided, sua sponte,

to conduct an assessment of whether any alternate theory of responsibility was available. Id.

         In addition to these facts evidencing a clear bias in favor of the female accuser without any

reasonable alternative explanation, Plaintiff alleges that BC, as an institution, was under

considerable pressure from the federal government to aggressively pursue sexual assault claims at

the risk of losing federal funding. AC ¶¶ 19-37, 172-174, 183-184. Plaintiff also alleges a pattern

of discriminatory behavior, in that BC has exclusively suspended or expelled male students for

sexual misconduct claims. AC ¶ 186.8

         Together, these are precisely the sort of circumstantial elements that suffice to make out a

discrimination claim at the pleading phase – particularly in a case like the one at bar, where any

direct evidence of gender bias would be exclusively in Defendant’s control. See, e.g., 831 F.3d at

57 (“[I]t is entirely plausible that the University’s decision-makers and its investigator were

motivated to favor the accusing female over the accused male, so as to protect themselves and the

University from accusations that they had failed to protect female students from sexual assault.”);

Doe v. Miami Univ., 882 F.3d 579, 593 (6th Cir. 2018) (allegations “showing a potential pattern

of gender-based decision-making”); Noakes v. Syracuse Univ., 369 F.Supp.3d 397, 416 (N.D.N.Y.

2019) (“[R]easonable inference [can] be drawn that the Investigator, the…Conduct Board, the


8
  Defendant asserts that this factor cannot show bias, because the College does not control “what is reported”. Def.’s
Br. 17. However, Plaintiff does not allege that only male students were reported for sexual misconduct, he alleges that
only male students have been punished severely for such violations. That is a critical difference, one which is directly
in BC’s control.

                                                          18
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 20 of 23



Appeals Board, and other…officials were motivated to appease OCR by siding with Roe . . . .”);

238 F.Supp.3d at 223 (D. Mass. 2017) (allegations that a university responded to campus pressure

to pursue sexual assault cases); Wells v. Xavier Univ., 7 F.Supp.3d 746, 751 (S.D. Ohio 2014)

(allegations suggested that university was “reacting against him[ ] as a male” in response to a

Department of Education investigation). Defendant’s motion to dismiss Count I should be denied.

   IV.      Plaintiff States an Adequate Claim for Estoppel

         In Massachusetts, a plaintiff alleging estoppel must demonstrate: (1) a representation

intended to induce a course of conduct on the part of the person to whom the representation was

made, (2) an act or omission resulting from the representation by the person to whom the

representation was made, and (3) detriment to the person as a consequence of the act. Boutilier v.

John Alden Life Ins. Co., 2000 WL 1752623, at *9 (D. Mass. Sept. 29, 2000). BC expected or

should have expected Doe to accept its offer of admission and                                     ,

incur tuition and fees expenses, and choose not to attend other colleges based on its express and

implied promises that BC would not tolerate, and Doe would not suffer, discrimination, and BC

would not deny Doe his procedural rights should he be accused of a violation of BC’s policies. AC

¶ 294. Doe relied to his detriment on these express and implied promises and representations made

by BC, by choosing to attend BC over other schools. AC ¶ 295.

   V.       Plaintiff Adequately Pleads a Claim for Negligence

         To plead negligence, a plaintiff must allege (1) duty, (2) breach, and (3) proximate cause

of damage or injury. Acevedo v. Johnson & Johnson, No. 16-CV-11977-DLC, 2018 WL 4693958,

at *4 (D. Mass. Sept. 30, 2018). There is no requirement for physical injury. Davis v. Prot. One

Alarm Monitoring, Inc., 456 F. Supp. 2d 243, 249 (D. Mass. 2006).




                                                 19
         Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 21 of 23



         A duty of care may be found where an entity “voluntarily assume[s]” to undertake a certain

task, fails to exercise due care, increasing the risk of harm. See Mullins v. Pine Manor Coll., 449

N.E.2d 331, 335-336 (1983). Doe alleges that BC, having assumed a duty of care to train and

supervise its employees in investigating and adjudicating claims of sexual misconduct, was

obligated to do so with due care, and breached that obligation, resulting in the improper findings

and wrongful suspension. AC ¶ 299-307. Moreover, such an outcome was a clearly foreseeable

result of a botched investigation. See Foster v. Loft, Inc., 526 N.E.2d 1309, 1313 (Mass. App. Ct.

1988) (employer liable where risk of harm by employee was foreseeable); Doe v. Univ. of the S.,

No. 09-CV-62, 2011 WL 1258104, at *21 (E.D. Tenn. Mar. 31, 2011) (“[A] jury could find that

the harm caused by the University's allegedly and arguably haphazard implementation of its own

Sexual Assault Policies was foreseeable, especially where…the harm was severe: a wrongful

conviction by a disciplinary committee”).

         Although the First Circuit found in Doe v. Trustees of Boston Coll., 892 F.3d 67, that the

College did not owe a duty of care in carrying out its Title IX investigation, the Court in that case

did not address the issue of training and retention. Id. at 93-95. Given the                         , severe, and

lifelong ramifications of a finding of responsibility against Doe, he was entitled to a process

conducted by adequately trained and supervised individuals. BC breached that obligation.

                                                CONCLUSION

         Based on the foregoing, Plaintiff respectfully requests Defendant’s Motion to Dismiss

should be denied in its entirety. To the extent that this court may be inclined to dismiss any claim,

such dismissal should be without prejudice and with leave to amend. See Fed. R. Civ. P. 15. 9




9
 Plaintiff concurs with Defendant’s argument that this Court should retain supplemental jurisdiction in the event the
Title IX claim is dismissed.

                                                         20
       Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 22 of 23



Dated: January 7, 2020
       Boston, Massachusetts
                                                   Respectfully submitted,

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              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       Plaintiff, through his undersigned counsel, conferred with counsel for the Defendant

concerning the content of the motion, however, the Parties were unable to reach an agreement.


                                                   /s/ Regina M. Federico
                                                   Regina M. Federico




                                              21
        Case 1:19-cv-11626-DPW Document 74 Filed 01/07/20 Page 23 of 23



                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper

copies will be sent to those indicated as non-registered participants on January 7, 2020.



                                                     /s/ Regina M. Federico
                                                     Regina M. Federico




                                                22
